Case 20-12752-elf       Doc 10     Filed 06/30/20 Entered 06/30/20 20:10:48             Desc Main
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                   IN THE UNITED STATES BANKRUPTCY COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA
IN RE:                                                   :     20-12752
TARA MARIE NEWMAN                                        :
                                                         :     Chapter No. 13
                              Debtor                     :
                                                         :

        NOTICE OF APPEARANCE AND DEMAND FOR SERVICE OF PAPERS
       PLEASE TAKE NOTICE that the undersigned appears for WELLS FARGO BANK,

N.A. (“the Creditor”), and pursuant to Bankruptcy Rule 2002(g) and 2002(h) and 9007 and

§1109(b) of the Bankruptcy Code, with regards to the real property, located at 6203 HILLTOP

DRIVE UNIT 25, BROOKHAVEN, PA 19015-1306 with the mortgage recorded on March 24,

2017 Book 05972, Page 2298 demands that all notices that are required to be given in this case

and all papers that are required to be served in this case, be given to and served upon the

undersigned at the office, post office address and telephone number set forth below.

       PLEASE TAKE FURTHER NOTICE that pursuant to §1109(b) of the Bankruptcy

Code, the foregoing demand includes not only the notices and papers referred to in the Rules

specified above, but also includes, without limitation, orders and notices of any application,

motion, petition, pleading, request, complaint or demand, whether formal or informal, whether

written or oral whether transmitted or conveyed by mail, delivered, telephone, telegraph, telex or

otherwise which affect or seek to affect in any way the Creditor’s rights or interest, with respect

to Debtor or the property on which Creditor holds a first mortgage lien.


June 30, 2020
                                              /s/ Mario J. Hanyon, Esquire
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